    Case 2:21-mc-01118-PA-RAO Document 9 Filed 02/22/22 Page 1 of 1 Page ID #:107
J. Stephen Simms
Simms Showers LLP
201 International Circle, Suite 230
Baltimore, Maryland 21030




                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
     In Re the Petition of                                                CASE NUMBER
                                                                                                 21-MC-1118 PA (RAOx)
     Mobilboxx Europe GmbH
                          .
     For Discovery in Aid of                                ORDER ON APPLICATION OF NON-
     a Foreign Proceeding                                 RESIDENT ATTORNEY TO APPEAR IN A
     Pursuant to 28 U.S.C. § 1782                              SPECIFIC CASE PRO HA C VICE
     .
The Court, having determined whether the required fee has been paid, and having reviewed the Application of
Non-Resident Attorney to Appear in a Specific Case Pro Hae Vice tiled by
 Simms, John S.                                              of SiJll1Ds Showers LLP
 Applicant's Name (Last Name, First Name & Middle Initial          201 International Circle
 443-290-8704                        410-510-1789
                                    -----------                    Suite 230
 Telephone Number                    Fax Number                    Baltimore, Maryland 21030
 jssirnrns@sirnrnsshowers.com
                              E-Mail Address                                              Firm/Agency Name & Address
for permission to appear and participate in this case on behalf of
 Mobilboxx Europe GmbH


 Name(s) ofParty(ies) Represent                                    □ Plaintiff(s) D     Defendant(s) [g] Other:                Petitioner
and designating as Local Counsel
 Crose, John A. Jr.                                                                of
 Designee 's Name (Last Name, First Name & Middle Initial
 115594                       310-416-1990            (none- no fax)

 Designee 's Cal. Bar No.           Telephone Number               Fax Number
  jcrose@icclawfirm.com
                              E-Mail Address                                              Firm/Agency Name & Address
HEREBY ORDERS THAT the Application be:
 □ GRANTED
 □x DENIED:           D     for failure to pay the required fee.
                      0x    for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.
                      D     for failure to complete Application: unclear that all state courts are listed to which applicant is admitted have been
                      D     pursuant to L.R. 83-2.1.3.2:  □           resides in California; D previous Applications listed indicate Applicant
                                                                 listed.
                                                            Applicant
                            is regularly employed or engaged in business ) professional, or other similar activities in California.
                      D     pursuant to L.R. 83-2.1.3.4; Local Counsel: D is not member of Bar of this Court; D does not maintain office
                            District.
                      Dx    because     Unclear that certificates of good standing are listed for all state courts.
IT IS HEREBY FURTHER ORDERED THAT the Application fee, if paid:                                      □ be refunded □ not be refunded.
Dated: Click here to enter a date.
       February 22, 2022                                                         U.S. District Judge/U.S. Magistrate Judge

 G-64 Order (05/16)    (PROPOSED) ORDER ON iPPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                Page 1 of 1
